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 AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                            Eastern District of Kentucky

                    The Estate of Lisa Noble
                                                                                )
                                Plaint/ff
                                   V.                                           )      Civil Action No.     6:17-1 57-KKC
        Beacon Transport, LLC and Terran Cooper
                                                                                )
                               Defendant                                        )
                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                               Tammy Saylor
                                                  481 Molus Hollow Road, Coldiron, Kentucky 40819
                                                        (Name ofperson to whom this subpoena is directed)

         Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
       19!
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:



  Place: Jewell Law Office, PLLC                                                        Date and Time:
         138 Court Square                                                                                 02/22/2018 2:00 pm   I
         Barbourville, Kentucky 40906

             The deposition will be recorded by this method:                   by a stenographer and by videotaping

       iE Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




        The following provisions of Fed. R. Civ. P. 45 are attached Rule 45(c), relating to the place of compliance;
                                                                                        —




Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT

                                                                                            ORoreysstiattt
                                            Signature of Clerk or Deputy Clerk

 The name, address, e-mail address, and telephone number of the attorney representing (name oftJJ
 The Estate of Lisa Noble                                                  who issues or requests tliis subpoena, are:
                                                                                              ,



D. Randall Jewell, P. 0. Box 670, Barbourville, Kentucky 40906, randy@randyjewell.com, (606) 546-9714

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.         6:17-157-KKC

                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

           I received this subpoena for (name of individual and title, fany
on date)


           z1       served the subpoena by delivering a copy to the named individual as follows:



                                                                                     Ofl(dare)                         ;or


                I   returned the subpoena unexecuted because:




           Unless the subpoena was issued on behalf of the United States, or one of its officers or agents,                  I   have also
           tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

           S                77.82


My fees are         $                              for travel and    $                   for services, for a total of    S       —   0.00



           I   declare under penalty of perjury that this information is true.



Date: o/3o/ig                                                                               Sei r s signature

                                                               O4                         Printed name and title   3


                                                                      Od                     Wô, -4 qL77
                                                                                             Server ‘s address

Additional information regarding attempted service, etc.:
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                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                      (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Spec.’ing Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
     (I) is a party or a party’s officer; or                                       conditions if the serving party:
     (ii) is commanded to attend a trial and would not incur substantial                (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
  (2) For Other Disco very. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                            (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Spec/led.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) C’onunand to Produce Materials or Permit Inspection.                             (D) Inaccessible Electronically Stored Information. The person
  (A) Appearance Not Required. A person cornrnanded to produce                     responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also cornrnanded to appear for a deposition,       order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person cornrnanded to produce documents or tangible           made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the rnaterials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
      (i) At any time, on notice to the commanded person, the serving party             (I) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the       privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (I) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Pe,’milted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
